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     Attorneys for Frank Jarvis Atwood
20
                            UNITED STATES DISTRICT COURT
21
                                  DISTRICT OF ARIZONA
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 1   Frank Jarvis Atwood,                        )   CASE NO. 2:22-cv-00860-JAT-JZB
                                                 )
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                                                 )
                   Plaintiff,                    )
                                                 )
 3                                               )
           v.                                    )   PLAINTIFF’S    REPLY   IN
 4                                               )   SUPPORT OF MOTION FOR
      David Shinn, Director, Arizona             )
                                                 )   LEAVE TO CONDUCT LIMITED
 5    Department of Corrections, Rehabilitation )    EXPEDITED DISCOVERY FROM
      & Reentry; James Kimble, Warden,           )   DEFENDANT     JOHN   DOE,
 6    ASPC-Eyman; Jeff Van Winkle, Warden, )         ARIZONA-LICENSED
                                                 )
      ASPC-Florence; Lance Hetmer, Assistant )       PHARMACIST
 7
      Director for Prison Operations, Arizona )
 8    Department of Corrections, Rehabilitation ))
      & Reentry; Mark Brnovich, Attorney         )   This is a capital case. Execution set for
 9    General of Arizona; John Doe, Arizona- )          10 a.m. June 8, 2022
      licensed Pharmacist,
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                  Defendants.
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 1          Defendants are wrong that Defendant John Doe—the pharmacist who mixed the

 2   drugs that the State plans to use to kill Mr. Atwood—is not a relevant defendant in Mr.
 3   Atwood’s suit challenging the planned method of executing him. To this point, Mr. Atwood
 4
     has received no information as to what this John Doe pharmacist actually did in preparing
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     the lethal injection drugs.
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            Any meaningful determination on whether the drugs prepared for Atwood are even
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     usable can only be determined through evidence the pharmacist responsible for preparing
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     them can answer. This is especially true here because there has been no disclosure about
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     the preparation other than by third-party laboratory testing results, which do not address
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11   the vital elements going into conducting stability testing, or “specialized testing,” as it has

12   been described in the Arizona Supreme Court litigation. The prevailing standard of care

13   for a compounding pharmacist is to document the batch preparation and production of

14   samples in order to yield verifiable data that can be applied to later preparations (e.g., the

15   batches for Clarence Dixon, who the State executed on May 11, 2022, and now Mr.
16   Atwood). Further, the identicality of active and inactive ingredients and formulations
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     between the test batch and the batches for any given execution must be established even if,
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     which does not appear to be the case, the so-called specialized testing of one batch has
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     actually yielded a BUD for other batches. There is no other source of evidence than John
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     Doe for these indispensable questions about whether the Defendants even possess
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     execution drugs they can lawfully attempt to use on Plaintiff.
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            Defendants’ argument is premised on the irrelevance of the John Doe pharmacist’s
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24   identity and his or her actions. Once the pharmacist’s role and importance is properly


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 1   understood, however, Defendants’ argument falls apart.

 2          First, Defendants assert that the pharmacist’s identity is confidential under Arizona
 3   state law. Defendants are attempting to use a state law to give a state-contracted actor
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     immunity from federal suit—if Defendants are not ordered to reveal the identity of the
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     pharmacist, Plaintiff will not be able to find and serve that person, and they will receive
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     immunity from this federal civil rights case. This stance is clearly in contravention of the
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     Supremacy Clause of the United States Constitution. See, e.g., Haywood v. Drown, 556
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     U.S. 729, 736 (2009) (“[states] lack authority to nullify a federal right or cause of action
 9
     they believe is inconsistent with their local policies.”).
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11          Plaintiff does not seek Defendant Doe’s identity in order to harass the person or

12   publicize their identity. This Court has many available options to limit the dissemination

13   of their identifying information—including, for example, a protective order, insistence on

14   use of only initials for the pharmacist in filings, and/or requiring some amount of filing

15   under seal. Plaintiff would do whatever is necessary to keep secret the pharmacist’s identity
16   once it is received.
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            Next, Defendants’ citation to Ninth Circuit case law is inapposite to these facts. In
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     First Amendment Coalition of Arizona, Inc. v. Ryan, the Ninth Circuit held only that the
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     general public and press do not have a First Amendment right to know details of drugs used
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     in lethal injections, as well as information about the people involved in carrying out
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     executions. 938 F.3d 1069, 1080-81 (9th Cir. 2019). The case did not involve any attempt
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     to name as a Defendant a pharmacist involved in the preparation of lethal injection drugs
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24   in an Eighth Amendment federal civil rights lawsuit—rather, press organizations simply


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 1   sought more information about executions in order to bring greater public awareness.

 2   Therefore, Ryan had no bearing on and offers no support for the de facto immunity that
 3   Defendants argue here.
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            Similarly, Defendants’ insistence that the Doe pharmacist has already completed his
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     or her work on the drug cocktail and is therefore no longer relevant to the case, [Doc. 18]
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     at 5, entirely misses the point. While the pharmacist may not do any further work on the
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     drugs that the State plans to use to kill Mr. Atwood, the pharmacist is the only link to
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     understanding how that mixture came to be. The drugs themselves obviously remain of
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     paramount importance to these proceedings; thus, the person who mixed them is, as well.
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11   Courts routinely grant such discovery to identify, name, and serve defendants, and this

12   Court must do so here. 1

13          Ultimately, unless the pharmacist is able to provide evidence establishing the

14   viability of their testing and its actual specific relationship to Mr. Atwood's designated

15   batch of lethal injection drugs (active/inactive ingredients and formulation), the expiry of
16   those drugs likely happened in mid-April, days after they were prepared. Even if the batch
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     were frozen, the 45-day BUD has already run by today’s date. These are factual disputes
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     that must be resolved and can only be resolved by the involvement in this suit of the
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       Defendants cite to no case to support their apparent contention that this discovery
     should not be allowed because Mr. Atwood has named other defendants, in addition to
22   Defendant Doe. [Doc. 18] at 6. This lack of citation is not surprising, as there is no
     principled reason to condition such discovery on whether all defendants are unnamed or
23   only one is. Defendants’ counsel’s final argument instead reads like a vague,
     unsubstantiated motion to dismiss a party whose identity they seek to conceal and who
24   they have purported to not represent.

                                                  5
 1   pharmacist who prepared the drugs. For this reason, this Court should grant Mr. Atwood’s

 2   motion for expedited discovery.
 3         Respectfully submitted, this the 27th day of May, 2022.
 4
                                       s/ David A. Lane
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